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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION




UNITED STATES OF AMERICA

v.                              NO. 4:09CR00166-004 SWW

DAVID CASH




                                     ORDER

        Pending before the Court is defendant’s motion to modify the

sentence imposed, in the above matter, by remaining at the Wilbur D.

Mills    Rehabilitation   and   Transitional    Living   Facility    in   McCrory,

Arkansas for an additional six months.          The government does not object

and the probation officer has not stated an objection.

        IT IS THEREFORE ORDERED that the motion to modify the sentence

imposed(doc #133)is GRANTED and the sentence hereby is modified as

follows:

             The defendant shall serve six months at the Wilbur D. Mills
             Rehabilitation and Transitional Living Facility rather than
             at a residential re-entry facility.

All other terms and conditions of defendant’s Judgment and Commitment

shall remain unchanged and in full force and effect.

        DATED this 20th day of October 2010.



                                             /s/Susan Webber Wright

                                      UNITED STATES DISTRICT JUDGE
